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  11                        UNITED STATES DISTRICT COURT

  12                      CENTRAL DISTRICT OF CALIFORNIA

  13

  14   ROBERT ROMERO, an individual,         Case No. 2:16-cv-01356-FMO-JCx

  15               Plaintiff,                DECLARATION OF JENNIFER
  16                                         KOZAK IN SUPPORT OF
             v.                              DEFENDANT GE BETZ, INC.’S
  17                                         MOTION TO COMPEL
       GE BETZ, INC.; DOES 1 through 50,     ARBITRATION
  18
       inclusive,
                                             Hearing Date:   June 16, 2016
  19
                   Defendants.               Time:           10:00 a.m.
  20                                         Courtroom:      22 – 5th Floor
                                             Judge:          Hon. Fernando M. Olguin
  21

  22                                         Complaint Filed: January 25, 2016
                                             Trial Date: April 11, 2017
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                                                   Case No. 2:16-cv-01356-FMO-JCx
       DECLARATION OF JENNIFER KOZAK IN SUPPORT OF DEFENDANT GE BETZ, INC.’S
                          MOTION TO COMPEL ARBITRATION
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   1                    DECLARATION OF JENNIFER KOZAK
   2       I, JENNIFER KOZAK, declare as follows:
   3       1.          I am an Executive Human Resources Business Partner for GE
   4                   BETZ, INC. GE BETZ, INC. is a wholly owned subsidiary of
   5                   the General Electric Co. (“GE”). GE acquired Betz in 2002.
   6       2.          I have been employed by GE since March 25, 2002. In my
   7                   current position which I have held since January 2013, I support
   8                   the GE Water business of GE Power. Employees in the Water
   9                   business in the United States are employed by GE Betz, INC,
  10                   including myself and the plaintiff in this matter, Robert Romero
  11                   (hereafter, “Mr. Romero”). GE Power is a business unit of GE.
  12                   GE Power was formerly referred to as GE Power & Water. GE
  13                   Power & Water was part of the GE Energy Business Unit from
  14                   2008- 2013. The facts contained herein are true based on my own
  15                   personal knowledge and, if called upon as a witness in this case, I
  16                   could and would testify competently to the truth thereof.
  17       3.          For the past 17 years, GE has managed most United States
  18                   employment disputes through Alternative Dispute Resolution
  19                   (“ADR”) procedures. ADR within GE has consisted of formal
  20                   and elevated internal reviews of a concern, continuing to non-
  21                   binding mediation before a third party neutral mediator and, if a
  22                   concern is still not resolved, binding arbitration before a third
  23                   party neutral arbitrator. I have received extensive training on
  24                   GE’s ADR procedures and am familiar with all iterations thereof.
  25                   I also serve as a point of contact for employees who have
  26                   questions regarding GE’s ADR procedures.
  27       4.          In 2009, GE began moving to a common ADR program across all
  28                   GE businesses in the United States, called Solutions. Mr.
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       DECLARATION OF JENNIFER KOZAK IN SUPPORT OF DEFENDANT GE BETZ, INC.’S
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   1                   Romero, was covered by the Solutions ADR procedure at that
   2                   time, and continuously thereafter through the present. In 2010,
   3                   GE amended its Solutions ADR Procedure to incorporate several
   4                   legislative, judicial and agency developments regarding the
   5                   content of alternative dispute programs with mandatory
   6                   arbitration provisions. Prior to implementing the 2010
   7                   amendments, GE sent all impacted employees an email with a
   8                   link to a MyLearning training course where they could learn more
   9                   about ADR and the 2010 amendments. The MyLearning training
  10                   explained the amendments. Attached hereto as Exhibit A is a
  11                   true and correct copy of the notification sent to all employees.
  12                   Attached hereto as Exhibit B is a true and correct copy of the
  13                   2010 Solutions ADR Procedure.
  14       5.          On January 9, 2011, Mr. Romero completed the MyLearning
  15                   training regarding the 2010 Solutions Procedure Amendments.
  16                   Attached hereto as Exhibit C is a true and correct copy of a
  17                   Certificate of Completion certifying that Mr. Romero
  18                   successfully completed the 2010 Solutions Procedure
  19                   Amendments training. In completing the MyLearning training,
  20                   Mr. Romero acknowledged that he was covered by the Solutions
  21                   ADR Procedure.
  22       6.          In 2015, GE again modified the Solutions ADR Procedure to
  23                   incorporate further legal developments. On August 27, 2015, all
  24                   impacted GE Power employees, including Mr. Romero, received
  25                   an email notifying them of the 2015 amendments to the ADR
  26                   Procedure. The August 27, 2015 email contained a link to GE’s
  27                   Document & Policy (“DPM”) system, where each employee
  28                   ///
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